Case No. 1:22-cv-01986-RM-NRN Document 61-6 filed 12/14/23 USDC Colorado pg 1 of 3



    From:            emorehouse@aipisolutions.com
    To:              William Ramey
    Cc:              Joseph J Zito; Erik Lund
    Subject:         RE: Motion to Withdraw
    Date:            Friday, September 22, 2023 1:53:15 PM
    Attachments:     image002.png
                     image003.png
                     image006.png


    Please stop reaching out to my clients. It’s going to cause harm that we’ll need to address.

    I need the accounting that I requested in order to make the transfer, and this accounting needs to
    address the GoPro matter.

    I recommend that you withdraw from all matters except Valjakka, Pedersen, and Ward – but let’s
    discuss first.


    Eric D. Morehouse
    Founder

           +1 (703) 346-4787
           11718 Bowman Green Dr.
           Reston, VA 20190
           www.aipisolutions.com
           EMorehouse@aipisolutions.com




    From: William Ramey <wramey@rameyfirm.com>
    Sent: Friday, September 22, 2023 2:44 PM
    To: Tom DeFrancia <tommyd@rovrproducts.com>; emorehouse@aipisolutions.com
    Subject: Motion to Withdraw

    Hi Tom,

    My firm intends to file a motion to withdraw from the Ice Rover matters due to nonpayment by AiPi.

    Can we list you, the client, as unopposed? It is our understanding that Whitestone law has entered
    an appearance on your matters and will represent you.

    Let me know if you would like to discuss.

    Bill

    William P. Ramey, III
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    5020 Montrose Bvd., Suite 800
    Houston, Texas 77006
    (713) 426-3923
    (832) 900-4941 (facsimile)

    This communication is CONFIDENTIAL and may be privileged. If you are not the intended recipient,
    please notify me immediately and delete this message. Further disclosure or copying of any portion
    of this message is unauthorized.




    From: Tom DeFrancia <tommyd@rovrproducts.com>
    Sent: Thursday, February 23, 2023 4:23 PM
    To: emorehouse@aipisolutions.com
    Cc: ksheets@aipisolutions.com; William Ramey <wramey@rameyfirm.com>;
    elund@aipisolutions.com; mozmen@aipisolutions.com; rkerber@aipisolutions.com
    Subject: Re: Zoom invite for Monday at noon Virginia time, i.e., 10:00am MT

    Perfect. Thank you.


          On Feb 23, 2023, at 3:01 PM, emorehouse@aipisolutions.com wrote:


          Sorry – I meant Monday (Feb. 27) at noon Virginia time, i.e., 10:00am MT – not
          tomorrow (Friday).


          Eric D. Morehouse
          Founder

           <image005.png>                          <image007.jpg>     +1 (703) 346-4787
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                                                                      Reston, VA 20190
                                                                      www.aipisolutions.com
                                                                      EMorehouse@aipisolutions.com




          From: emorehouse@aipisolutions.com
          Sent: Thursday, February 23, 2023 5:00 PM
Case No. 1:22-cv-01986-RM-NRN Document 61-6 filed 12/14/23 USDC Colorado pg 3 of 3



         To: Tom DeFrancia <tommyd@rovrproducts.com>
         Cc: Ksheets@aipisolutions.com; William Ramey <wramey@rameyfirm.com>;
         elund@aipisolutions.com; mozmen@aipisolutions.com; rkerber@aipisolutions.com
         Subject: RE: Zoom invite for tomorrow (Friday) at noon Virginia time, i.e., 10:00am MT

         Great.

         We’ll send a Zoom invite to everyone copied on this email for tomorrow (Friday) at
         noon Virginia time, i.e., 10:00am MT.

         Please forward the Zoom invite to buyer’s counsel.


         Eric D. Morehouse
         Founder

          <image008.png>                         <image009.jpg>      +1 (703) 346-4787
                                                                     11718 Bowman Green Dr.
                                                                     Reston, VA 20190
                                                                     www.aipisolutions.com
                                                                     EMorehouse@aipisolutions.com




         From: Tom DeFrancia <tommyd@rovrproducts.com>
         Sent: Thursday, February 23, 2023 8:46 AM
         To: emorehouse@aipisolutions.com
         Subject: Due Dilligence call with IP team

         Hi Eric,
         Would you be able to arrange a due diligence call with with Ken, Ramey and the buyer’s
         counsel? This is the last step in our deal (I think).

         They are available on Friday morning before 11:30 a.m. MT or Monday from
         9:30 to noon MT or 1:00 to 6:00 MT.


         Thanks, Tom
